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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ROBERT M. HALKITIS,                                                    :
                                                                       :
                                    Plaintiff,                         :     19-CV-11753 (JMF)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
NEW YORK CITY DEPARTMENT OF EDUCATION, :
DONALDA CHUMNEY, JENNIFER REHN-                                        :
LOSQUARDO, LINDSAY OAKES, LISA STEFANICK, :
COURTNEY DELANEY, and YASMEEN GUTIC,                                   :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       In light of the circumstances surrounding COVID-19, the Court will not hold the
upcoming conference in this case in person. Counsel should submit their joint status letter on
ECF no later than the Thursday prior to the conference, the contents of which are described in
the Case Management Plan and Scheduling Order. ECF No. 21. In their joint letter, the parties
should also indicate whether they can do without a conference altogether. Unless and until the
Court orders otherwise, all existing dates and deadlines — including, as appropriate, the
deadlines for summary judgment motions and/or a proposed joint pretrial order, as set forth in
the Case Management Plan and Scheduling Order — remain in effect.

        After reviewing the parties’ joint status letter, the Court will issue an order indicating
whether the conference is cancelled and addressing any other relevant deadlines and information.
If a conference is held, it will be by telephone, albeit perhaps at a different time. To that end, if
counsel believe that a conference would be appropriate, they should indicate in their joint status
letter dates and times during the week of the currently scheduled conference that they would be
available for a telephone conference. In either case, counsel should review and comply with the
Court’s Emergency Individual Rules and Practices in Light of COVID-19, available at
https://nysd.uscourts.gov/hon-jesse-m-furman.

        SO ORDERED.

Dated: November 2, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
